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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                    Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                   Defendants.


          Plaintiffs have filed, less than a week before trial, a “Motion to Deem Established That

   Defendants Elliott Kline and Robert ‘Azzmador’ Ray Committed Certain Specific Overt Acts.”

   Dkt. 1265. Plaintiffs contend that they filed, “[a]t the invitation of the Court,” a motion for an

   order that Defendants Kline and Ray “each committed a specific overt act in furtherance of the

   conspiracy to commit racially motivated violence.” Id. at 1. Plaintiffs argue that these requests

   follow from the prior Orders of Magistrate Judge Hoppe granting in part and denying in part

   Plaintiffs requests for evidentiary sanctions. Id. at 2. In Plaintiffs’ view, their current motion

   remedies prior deficiencies noted by Judge Hoppe, and upon which he denied without prejudice

   their requests that the Court deem established that Kline and Ray each “committed multiple overt

   acts in furtherance of the conspiracy.” Id.

          Plaintiffs’ Request as to Kline

          Plaintiffs request that the Court deem established as a fact the following statement in its

   entirety: “On August 12, 2017, Kline directed other marchers into physical assaults, violence,

   and intimidation against counter protestors. Kline also participated in that violence by assisting

   Ben Daley in an attack on a counter-protestor; more specifically, Kline threw an already bleeding

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   counter protestor into the pavement. In doing so, Kline committed an overt act in furtherance of

   the conspiracy to commit racially motivated violence at the Unite the Right event in

   Charlottesville, Virginia on August 12, 2017.” Dkt. 1265 at 4, 5–6.

          The Court finds that Plaintiffs’ motion that the Court deem established the requested fact

   as against Kline will be denied. Plaintiffs’ motion for sanctions follows from a ruling by Judge

   Hoppe on November 30, 2020, in which he granted in part and denied in part Plaintiffs’ motion

   for sanctions as against Kline. See Dkt. 910. While the ruling did, at that time, afford Plaintiffs

   the option to “resubmit for the Court’s consideration proposed findings that Kline committed

   specific over acts or acts of intimidation and violence in furtherance of the agreement to commit

   racially-motivated violence,” id. at 41–42, that “invitation” to which Plaintiffs refer is now quite

   stale, Dkt. 1265 at 1. While there is no set time limit for a litigant to bring a motion for sanctions

   pursuant to Fed. R. Civ. P. 37(b)(2), they still must be brought in a reasonable time. See Brandt

   v. Vulcan, Inc., 30 F.3d 752, 756–57 (7th Cir. 1994); Knight v. Boehringer Ingelheim Pharm.,

   323 F. Supp. 3d 837, 859 (S.D. W. Va. 2018) (citing cases). Plaintiffs cite no reason why their

   follow-on request for sanctions could not have been brought sooner, or why it could only have

   been filed after the Court’s deadline for other final pre-trial motions, such as motions in limine,

   see Dkt. 991 at 1. Of course, Plaintiffs will still have the opportunity to present to the jury the

   underlying evidence that they cite in support of their request, and to argue to the jury that such

   evidence (and other evidence) satisfies the “overt act” element they seek to deem established.

   See Dkt. 1265 at 4–5. However, Plaintiffs’ new request for new evidentiary sanctions, just days

   before trial, comes too late.




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           Plaintiffs’ Request as to Ray

           Plaintiffs also seek to have the Court deem the following as an established fact at trial:

   “While attending the torchlight march on August 11, 2017, Ray maliciously and indiscriminately

   maced several counter protestors, and, in doing so, committed an overt act in furtherance of the

   conspiracy to commit racially motivated violence in Charlottesville, Virginia on August 11-12,

   2017.” Id. at 3, 5.

           Unlike Plaintiffs’ request for new evidentiary sanctions as against Kline, their request as

   to Ray came within a reasonable time following Judge Hoppe’s underlying Order granting in part

   and denying in part Plaintiffs’ request for sanctions. See Dkt. 1106. At bottom, Plaintiffs’ request

   as to Ray is grounded upon the argument that their new submission satisfies an issue raised by

   Judge Hoppe in denying their request in the first instance—namely, that “Plaintiffs’ proposed

   language was insufficiently specific or was unsupported by the evidentiary submissions Plaintiffs

   offered at the time.” Dkt. 1265 at 2. While the new requested admitted fact is more specific, the

   evidence Plaintiffs cite for the proposition that “Ray’s making of counter protestors was intended

   to further the conspiracy,” id. at 3–4, was nearly identical to that which had been submitted to

   Judge Hoppe. Compare Dkt. 1265 at 3–4, with Dkt. 1028 at 2–3.

           The Court finds that Plaintiffs’ request as to Ray will be denied. Plaintiffs have not made

   any more substantial factual showing in support of their request than that previously made to

   Judge Hoppe. Nor have they shown any demonstrated need that the Court impose this additional

   sanction sought as to Ray. And Plaintiffs’ brief does not substantiate why the imposition of this

   additional sanction would more effectively satisfy the relevant factors in Southern States, such as

   ensuring greater deterrence for non-compliance with Court orders; nor why earlier measures

   sought by Plaintiffs and that were included in Judge Hoppe’s Order of September 22, 2021 (Dkt.



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   1106), would not be sufficient to achieve those objectives. S. States Rack & Fixture, Inc. v.

   Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir. 2003) (citation omitted) (holding that the

   court must consider “the need for deterrence of the particular sort of non-compliance” and

   “whether less drastic sanctions would … be[] effective”). Plaintiffs will still be able to present

   the evidence cited to the jury to try to persuade them that such evidence (and other evidence)

   satisfies the “overt act” element they seek to deem established.

          For these reasons, Plaintiffs’ “Motion to Deem Established that Defendants Elliott Kline

   and Robert ‘Azzmador’ Ray Committed Certain Specific Overt Acts,” is DENIED. Dkt. 1265.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record.

          Entered this 22nd
                       ______ day of October, 2021.




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